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                       UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF CALIFORNIA

                                      Criminal Minutes

Date: September 21, 2021                         Judge: Honorable William Alsup

Court Reporter: Ruth Ekhaus
Time: 24 Minutes
Case No.: CR 20-0480-1 WHA
Case Name: USA v. Emilson Jonathan Cruz Mayorquin (Custody)(Present)

Attorney(s) for Government: Ryan Rezeai
Attorney(s) for Defendant(s): Elisse Larouche
Interpreter: Carol Rhine-Medina (Spanish)

Deputy Clerk: Lashanda Scott


                                       PROCEEDINGS
Change of Plea hearing held. The defendant was sworn. Plea Agreement signed in open court
and provided to the Court. Defendant plead guilty to Count 8 of the Indictment. Sentencing
hearing set for December 14, 2021 at 12:00 p.m. before Judge Alsup. Defendant remanded to
US Marshal.
